        Case 3:18-md-02843-VC Document 873-4 Filed 03/12/22 Page 1 of 1




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      PLAINTIFFS’ NOTICE OF MOTION,
                                               MOTION, AND MEMORANDUM IN
ALL ACTIONS                                    SUPPORT OF MOTION FOR
                                               SANCTIONS

                                               Judge: Hon. Vince Chhabria
                                               Hon. Jacqueline Scott Corley
                                               Special Master Daniel Garrie
                                               Courtroom: 4, 17th Floor
                                               Hearing Date: May 5, 2022
                                               Hearing Time: 10:00 a.m.




                            REDACTED IN ITS ENTIRETY




                                                                                MDL NO. 2843
                                                                     CASE NO. 18-MD-02843-VC
